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                       IN THE UNITED STATES DISTRICT COUR
                      FOR THE EASTERN DISTRICT OF VIRGIN                           NOV - 6 2018
                                        Alexandria Division
                                                                                                          yj
                                                                              CURK, U.S. DISTRICT COURT
                                                                                 ALEXANDRIA. VIRGINIA

    CHARLES E, BRUNNER,

                          Plaintiff.

           V.
                                                              Civil Action No. l:18-cv-909
    19 PARKER BROTHERS SHOTGUNS.                              Hon. Liam O'Gradv


                          Defendants.




                                  MEMORANDUM OPINION


       On October 19. 2018. the Court i.ssued an Order transferring this case to the United Slates

District Court for the Middle District of Florida. Dkt. 23. This Memorandum Opinion

accompanies that Order.

                                        I. BACKGROUND

       Mr. Brunner brought an in rent action to determine the ownership of 19 Parker Brothers

Shotguns ("Defendant Shotguns'") located in the Eastem District of Virginia. After Mr. Brunner

posted notice of this lawsuit, Carol Cameron McKinney and Shcrri Wharlhan McClendon

("Judgment Creditors") filed an answer and counterclaim, then moved to transfer this case to the

United States District Court for the Middle District of Florida, Tampa Division.

       The shotguns at issue were originally owned by Roland Askins. In April 2016, while Mr.

Askins still owned the shotguns. Judgment Creditors obtained two judgments against Mr. Askins

and his sons in Florida state court. That same month. Judgment Creditors perfected Judicial liens

against the physical and personal property of Mr. Askins and his sons. When the Askins failed to

satisfy their judgments to Judgment Creditors, the Florida state court issued a break order and a
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